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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §
                                                              Case No. 2:13-CR-1-JRG-RSP
                                                 §
ISMAEL LOAEZA (1)                                §

               ORDER ADOPTING MAGISTRATE JUDGE=S REPORT AND
                       FINDING DEFENDANT GUILTY

       On this day, the Court considered the Findings of Fact and Recommendation of United

States Magistrate Judge Roy S. Payne regarding defendant=s plea of guilty to Count 1 with a

violation of 21 U.S.C. ' 846, Conspiracy to Possess with Intent to Distribute 50 grams or more of

Methamphetamine and Cocaine.         Having conducted a proceeding in the form and manner

prescribed by FED. R. CRIM P. 11, the Magistrate Judge recommends that the Court accept the

defendant=s guilty plea. The parties waived their right to file objections to the Findings of Fact and
     .
Recommendation. The Court is of the opinion that the Findings of Fact and Recommendation

should be accepted.

       It is accordingly ORDERED that the Findings of Fact and Recommendation of the United

States Magistrate Judge, filed August 7, 2013, are hereby ADOPTED.

       It is further ORDERED that, pursuant to defendant=s plea agreement, the Court finds

defendant GUILTY of Count 1 of the information in the above-numbered cause.
        SIGNED this 19th day of December, 2011.
      So ORDERED and SIGNED this 28th day of August, 2013.




                                                           ____________________________________
                                                           RODNEY GILSTRAP
                                                           UNITED STATES DISTRICT JUDGE
